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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al.,1                                    )    Case No. 23-11069 (CTG)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Re: Docket No. 5

INTERIM ORDER (I) AUTHORIZING THE PAYMENT OF CERTAIN PREPETITION
 AND POSTPETITION TAXES AND FEES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for the entry of an interim order (this “Interim Order”),

(a) authorizing, but not directing, the Debtors to remit and pay (or use tax credits to offset)

undisputed prepetition Taxes and Fees in the ordinary course of business; (b) scheduling a final

hearing to consider approval of the Motion on a final basis; and (c) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and the district court having

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’



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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing (the “Final Hearing”) on the Motion shall be held on September

18, 2023, at 2:00 p.m., prevailing Eastern Time. Any objections or responses to entry of a final

order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on August 31,

2023 and shall be served on: (a) the Debtors, 11500 Outlook Street, Suite 400, Overland Park,

Kansas 66211, Attn.: General Counsel; (b) proposed counsel to the Debtors (i) Kirkland & Ellis

LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.: Patrick J. Nash Jr., P.C.

(patrick.nash@kirkland.com), David Seligman P.C. (david.seligman@kirkland.com), and

Whitney Fogelberg (whitney.fogelberg@kirkland.com); (ii) Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com);

and (iii) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705,

Wilmington, Delaware 19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns

(tcairns@pszjlaw.com),     Peter   J.   Keane    (pkeane@pszjlaw.com),       and    Edward    Corma

(ecorma@pszjlaw.com); (c) the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,




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Wilmington, Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov); and (d) any

statutory committee appointed in these chapter 11 cases.

         3.    The Debtors are authorized, but not directed, to: (a) negotiate, pay, and remit (or

use tax credits to offset), or otherwise satisfy the Taxes and Fees (including corresponding

Assessments) that arose or accrued prior to the Petition Date and that will become due and owing

in the ordinary course of business, at such time when the Taxes and Fees are payable; and

(b) negotiate, pay and remit (or use tax credits to offset) Taxes and Fees that arise or accrue in the

ordinary course of business on a postpetition basis; provided that notwithstanding anything to the

contrary herein or in the Motion, that in the event the Debtors make a payment with respect to any

Taxes and Fees for the prepetition portion of any “straddle” amount, and this Court subsequently

determines such amount was not entitled to priority or administrative treatment under

sections 507(a)(8) or 503(b)(1)(B) of the Bankruptcy Code, the Debtors may (but shall not be

required to) seek an order from the Court requiring a return of such amounts; provided, further

that such payments shall not exceed $12 million in the aggregate pending entry of a final order.

         4.    The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this Interim

Order.

         5.    Notwithstanding the relief granted herein or any actions taken hereunder, nothing

contained in this Interim Order shall create any rights in favor of, or enhance the status of any

claim held by, any of the Authorities.



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       6.      Nothing contained in the Motion or this Interim Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Interim

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount,

validity or priority of, or basis for any claim against the Debtors under the Bankruptcy Code or

other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Interim

Order; (e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.

       7.      The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

       8.      The Debtors have demonstrated that the requested relief is “necessary to avoid

immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.

       9.      Nothing in this Interim Order authorizes the Debtors to accelerate any payments

not otherwise due prior to the date of the Final Hearing.




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       10.     Notwithstanding anything to the contrary in this Interim Order, any payment made,

or authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases.

       11.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       12.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       13.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       14.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       15.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




   Dated: August 17th, 2023                           CRAIG T. GOLDBLATT
   Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




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